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                 IN THE UNITED STATES DISTRICT COURT


                 FOR THE SOUTHERN DISTRICT OF GEORGIA             ZJ13JUH27 PM 1^: ! l
                            SAVANNAH DIVISION

                                                                     50. oMr. Or
THE UNITED STATES OF AMERICA,

                Plaintiff,

                 V.                             4:19CR66


BAYLEIGH LAUGHING,

                Defendant.




                                 ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all
matters raised in the parties' motions have             been resolved by

agreement.     Therefore,    a   hearing   in    this      case    is    deemed
unnecessary.    All motions are dismissed.



     SO ORDERED, this            Iday o-f June, 2019.



                                   IRISTOPI
                                  UNITED STATES MAGISTRATE JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA
